            Case 07-10416-BLS          Doc 2636-5      Filed 08/31/07     Page 1 of 2




                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


In re
                                                 Chapter 11
NEW CENTURY TRS HOLDINGS,
                                                 Case No. 07-10416-KJC
                       Debtor.


                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on August 31, 2007 copies of the foregoing Motion for Relief

from Automatic Stay Under § 362 of the Bankruptcy Code, notice, and proposed order were

served via first-class mail, postage prepaid, upon the parties listed on the attached matrix.



Dated: August 31, 2007                         /s/ Adam Hiller
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           Case 07-10416-BLS    Doc 2636-5   Filed 08/31/07    Page 2 of 2




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